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                                        ORDERED.

         Dated: April 26, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:
                                                     Case No. 6:19-bk-00458-CCJ
Shannon W. Guice,                                    Chapter 13

      Debtor.
_________________/

               ORDER DENYING MOTION BY DEBTOR FOR CLARIFICATION

          This matter came before the Court for hearing on April 11, 2019, to consider the Motion

by Debtor for Clarification of Order Granting Motion for Relief from Automatic Stay, Request for

Expedited Hearing and Certificate of Necessity of Request for Hearing (Doc. No. 35; the

“Motion”). Having reviewed the Motion, the notices of filing case citations (and the cases

identified in those notices), 1 and considering argument of counsel at the hearing, the Court denies

the Motion.

          The Debtor filed this Chapter 13 bankruptcy case on January 23, 2019 (the “Petition

Date”). Prior to the Petition Date, the plaintiffs, the Federal Trade Commission and the Office of

the Attorney General for the State of Florida, filed a complaint in the United States District Court

for the Middle District of Florida requesting damages, a permanent injunction and other relief

against several defendants, including the Debtor’s non-filing spouse, Kevin W. Guice, (the
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“District Court Action”). 2 The Debtor is not named as a defendant in the District Court Action.

The District Court granted the plaintiffs’ summary judgment on the complaint and issued a

permanent injunction prohibiting the Debtor’s spouse from conducting various business activities.3

The District Court also appointed Mark J. Bernet, as receiver (the “Receiver”) for the corporate

defendants in the District Court Action. 4

       The Receiver filed a Motion to Compel Disgorgement of Assets from Defendant, Kevin

Guice and his Spouse, Shannon Guice, to Impose Constructive Trust, and for Other Equitable

Relief in the District Court Action (the “Motion to Compel Disgorgement”). 5 Magistrate Judge

Smith submitted a Report and Recommendation on the Motion to Compel Disgorgement (the

“Report and Recommendation”) in the District Court Action. 6 The Report and Recommendation,

consisting of over 20 pages of factual findings and legal conclusions, recommends that the District

Court grant in part the Motion to Compel Disgorgement. Before the District Court could consider

the Report and Recommendation and any objections, the Debtor filed this case.

       The Receiver filed a Motion for Relief from the Automatic Stay in this case, which the

Court granted (Doc. No. 24; the “Stay Relief Order”). The Stay Relief Order provides in part that

“[t]he automatic stay is hereby modified to permit the district court to proceed to final adjudication

with respect to the issues raised in and by the Receiver’s Motion to Compel Disgorgement of

Assets in the Enforcement Action; PROVIDED THAT, nothing herein shall operate to permit the

Receiver to execute against any property of the Debtor’s bankruptcy estate.” 7 The Receiver has

also filed a motion to dismiss this bankruptcy case which has not yet been set for trial (Doc. No.

12; the “Motion to Dismiss”).

        After entry of the Stay Relief Order, the Receiver contacted Debtor’s counsel to depose

the Debtor in the District Court Action. The Debtor filed the Motion for Clarification in response.



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       By the Motion for Clarification, the Debtor requests an order from the Court clarifying that

the Stay Relief Order does not allow the Receiver to depose the Debtor in the District Court Action.

At the hearing on the Motion for Clarification, the Receiver alleged that Mr. Guice is violating the

permanent injunction imposed by the District Court by operating a business and is doing so within

the home of Mr. Guice and the Debtor. The Receiver seeks to depose the Debtor in the District

Court Action as a witness to Mr. Guice’s alleged violations. The Receiver argues that Section 362

of the Bankruptcy Code does not preclude the Receiver from deposing the Debtor as a third party

witness in the District Court Action, and as a result, the Receiver has not violated the automatic

stay or the Stay Relief Order. The Debtor contends that the Receiver should be prohibited from

taking her deposition because it violates the stay and is concerned that it may be used against her

in this bankruptcy case in connection with the Motion to Dismiss.

       Section 362 of the Bankruptcy Code provides, with certain exceptions not applicable here,

that the filing of a bankruptcy petition operates as a stay, applicable to all entities, of – “the

commencement or continuation, including the issuance or employment of process, of a judicial,

administrative, or other action or proceeding against the debtor that was or could have been

commenced before the commencement of the case under this title,…” 8

       It is undisputed that the District Court Action itself is not an action against the Debtor.

Accordingly, unless the discovery request constitutes the “issuance or employment of process”

against the Debtor within the meaning of Section 362, it is not a violation of the automatic stay.

This Court agrees with the reasoning of the Ninth Circuit Bankruptcy Appellate Panel in the case

of In re Miller, a case very similar to this matter, that such discovery is not intended to fall within

Section 362’s prohibition. 9 As the Ninth Circuit Bankruptcy Appellate Panel held:

               If this were true, a debtor could never be called as a witness (even
               in actions where the debtor is not a party) without relief from the

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                stay. Such an interpretation of Section 362(a) defies common sense
                and the spirit of the Code. 10

And this is true regardless of whether information obtained from the deponent could later be used

against the Debtor. As stated by the Miller court, “[i]nformation is information, and we believe

the discovery of it as part of a case against non-debtor parties is permissible, even if that

information could later be used against the party protected by the automatic stay.” 11

        Because the Receiver seeks to depose the Debtor as a third party witness in the District

Court Action, the Court finds that neither Section 362 of the Bankruptcy Code nor the Stay Relief

Order prohibit it, nor is the Receiver prohibited from using any information obtained by the

discovery in either the District Court Action or in this case. Accordingly, it is

        ORDERED:

        1.      The Motion (Doc. No. 35) is denied.

        2.      The Receiver may depose the Debtor as a witness in the District Court Action.



Clerk’s office to serve


1
  Doc. No. 37, 39.
2
  Federal Trade Commission v. Life Management Services of Orange County, LLC et. al., No. 6:16-cv-982-Orl-41
TBS (M.D. Fla. filed June 7, 2016).
3
  Id. at Doc. No. 225.
4
   Id. at Doc. No. 36. The corporate defendants are: Life Management Services of Orange County, LLC, Loyal
Financial & Credit Services, LLC, IVD Recovery, LLC, KWP Services, LLC, KWP Services of Florida, LLC,
LPSofFLA LLC, LPSofFLORIDA L.L.C., PW&F Consultants of Florida, LLC, UAD Secure Services LLC, UAD
Secure Service of FL LLC, URB Management, LLC, YCC Solutions LLC and YFP Solutions LLC.
5
  Id. at Doc. No. 198.
6
  Id. at Doc. No. 239.
7
  The Stay Relief Order defines “Enforcement Action” as the District Court Action.
8
  11 U.S.C. § 362(a)(1).
9
  In re Miller, 262 B.R. 499 (9th Cir. BAP 2001).
10
    Id. at 505.
11
    Id. at 505.




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